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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

LISA MAXTON, and JON MAXTON        )
                                   )
     Plaintiffs,                   )    Cause No.: 3:20-cv-327
                                   )
v.                                 )
                                   )
NOVARTIS PHARMACEUTICALS           )
CORPORATION,                       )
                                   )
                                   )
     Defendant.                    )
           MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

      COMES NOW Plaintiffs, LISA MAXTON and JON MAXTON, by and through

their undersigned attorneys, Freeark, Harvey & Mendillo, P.C., and as for their Motion

for Voluntary Dismissal With Prejudice, states as follows:

      1.     That subsequent to the filing of this suit it was determined through

discovery that Plaintiff Lisa Maxton purchased a generic version of Diovan HCT,

manufactured and distributed by Solco Healthcare LLC, through her employer

pharmacy.

      2.     That prior to the filing of this suit Plaintiffs’ counsel believed, upon Plaintiff

Lisa Maxton’s physician records, that she was prescribed and purchased Defendant’s

Diovan HCT product.

      WHEREFORE, Plaintiffs, LISA MAXTON and JON MAXTON, respectfully

request the Court to enter an Order voluntarily dismissing this matter with prejudice and

for such other and further relief as the Court deems appropriate.

                                              FREEARK, HARVEY & MENDILLO, P.C.

                                   BY:     /s/Michael P. Murphy
                                           MICHAEL P. MURPHY #6205294
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                                          ATTORNEY FOR PLAINTIFFS


                                   PROOF OF SERVICE

       The undersigned certifies that a copy of the foregoing document was
electronically served upon all the attorneys of record of all parties by electronic service
on this 30th day of June, 2020.

                                                 /s/John M. Skrabacz
                                                 JOHN M. SKRABACZ




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